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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


Criminal Case No. 21-cr-00013-RM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. ANDRES CUETARA,

       Defendant.


                    UNOPPOSED MOTION FOR A PROTECTIVE ORDER


       The United States of America, by and through Jason R. Dunn, United States

Attorney for the District of Colorado, and Alecia L. Riewerts, Assistant United States

Attorney, respectfully requests the Court enter a protective order applicable to certain

discovery materials. This request is consistent with Rule 16(d), which allows the Court

to regulate discovery and restrict discovery or inspection for good cause.

The government has conferred with defense counsel. There is no objection to the

terms of the protective order.

                       Basis for the Requested Protective Order

      The discovery in this case includes information and documents related to an

investigation conducted on a Tor network-based hidden services website (“TARGET

WEBSITE”). The defendant is alleged to be a member of the TARGET WEBSITE,

which is dedicated to the advertising and distribution of child pornography. The Tor
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network is a computer network available to Internet users that is designed specifically

to facilitate anonymous communication over the Internet. Because of the way the Tor

network routes communications through the relay computers, traditional IP address-

based identification techniques are not effective. Law enforcement investigation into

the users of the TARGET WEBSITE remains ongoing and disclosure of the name of

and information related to the TARGET WEBSITE could alert active website users to

the investigation, potentially provoking users to notify other users of law enforcement

action, flee, and/or destroy evidence. Discovery of the above material without the

requested protective order would therefore harm ongoing and active investigations.

                      Scope of the Requested Protective Order

      The scope of the requested protective order is narrowly tailored to address the

concern outlined above. In particular, the order does not restrict defense counsel or

the defendant’s access to discovery with one narrow exception. The order would

prevent defense counsel from providing information or documents related to the

TARGET WEBSITE under investigation, including the facts of the investigation of the

website, to anyone not on the defense team.

      The government requests an order be issued with the following terms and

conditions:

       a. Defense counsel shall keep the discovery and any notes or other materials

          prepared based upon or referring to the TARGET WEBSITE in confidence 1

          and shall use them exclusively in connection with this case (including trial



1 Confidence means that the materials shall not be disclosed to any person who is not

a member of the defense team.

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        preparation, trial, and appeals or other related legal proceedings) and for no

        other purpose.

     b. The discovery which relates to the investigation of the TARGET WEBSITE

        may be viewed only by defense counsel, the defendant, and members of the

        defense team, including any defense investigators and staff, as well as

        experts, as necessary for the purposes of preparing a defense in this

        particular case. Defense counsel shall ensure that members of the defense

        team will read this Order and are informed of their responsibility to safeguard

        this information.

     c. Defense counsel and/or their staff shall make copies of the discovery related

        to the TARGET WEBSITE only as necessary to prepare a defense in this

        case.

     d. No copies of the discovery related to the TARGET WEBSITE shall be

        provided to the defendant, his family members, friends, or associates, under

        any circumstances without petition to and further order of the Court. The

        defendant may be allowed to view the discovery related to the TARGET

        WEBSITE, but only while in the direct presence of the defense counsel or a

        member of the defense team, including any defense investigators or staff, as

        well as experts.

     e. A redacted version of the discovery which relates to the investigation of the

        TARGET WEBSITE will be provided to defense counsel; said redacted

        version of the discovery material may be provided to the defendant.

     f. A copy of this Order shall be kept with the records at all times.


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                                       Conclusion

      For the reasons stated above, the government requests the issuance of a

protective order applicable to discovery within the scope identified above.

       Respectfully submitted this 19th day of February, 2021.



                                         JASON R. DUNN
                                         United States Attorney

                                         s/ Alecia L. Riewerts
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                          CERTIFICATE OF SERVICE


I hereby certify that on February 19, 2021, I electronically filed MOTION FOR
PROTECTIVE ORDER with the Clerk of the Court using the CM/ECF system which will
send notification of such filing to the following email address:

Defense Attorney:
Laura Suelau

Email Address:
laura.suelau@fd.org


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